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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                 CASE NO. 09-2051-MD-ALTONAGA

    In re:

    DENTURE CREAM PRODUCTS
    LIABILITY LITIGATION
    ___________________________________/

    This Document Relates To All Actions

                                                  ORDER

             THIS CAUSE came before the Court on Defendants, The Procter & Gamble Company,

    The Procter & Gamble Manufacturing Company, and The Procter & Gamble Distributing LLC’s

    (collectively, “Defendants[’]” or “P&G[’s]”) Amended Omnibus Motion to Strike Plaintiffs’

    Insufficient Expert Disclosures (“Motion”) [ECF No. 1977], filed September 18, 2012.

    Defendants move the Court to strike Plaintiffs’ case-specific expert disclosures as well as

    Plaintiffs’ general causation rebuttal designations because they violate Federal Rule of Civil

    Procedure 26 and the applicable Scheduling Order.           (See Mot. 1–2).      Plaintiffs filed five

    Responses,1 to which Defendants replied (“Reply”) [ECF No. 2008] on October 15, 2012. The

    Court has carefully considered the parties’ submissions and applicable law.


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      The law firm Langston & Lott, P.A. filed a Response on behalf of the plaintiff in case number 10-CIV-
    21330 (“Langston & Lott Response”) [ECF No. 1986]. The law firm Parker Waichman LLP filed a
    Response on behalf of the plaintiffs in case numbers 09-CIV-2267, 10-CIV-24201, 11-CIV-20673, 09-
    CIV-21648, 09-CIV-21885, 09-CIV-23423, 09-23600, 09-CIV-23335, 11-CIV-20621, 11-CIV-20623,
    09-CIV-23336, 10-CIV-21712, 09-CIV-23227, 10-CIV-20393, 09-CIV-22161, 10-CIV-21459, 09-CIV-
    23042, 11-CIV-20817, 09-CIV-23334, 10-CIV-24197, 10-CIV-22819, 11-CIV-20622, 11-CIV-20819,
    09-CIV-23648, 09-CIV-23337, and 11-CIV-20625 (“Parker Waichman Response”) [ECF No. 1990]. The
    law firm Chaffin Luhana LLP filed a Response on behalf of the plaintiffs in case numbers 11-CIV-20405,
    10-CIV-21175, 09-CIV-22661, 09-CIV-21964, 11-CIV-20403, 09-CIV-22660, and 11-CIV-22732
    (“Chaffin Luhana Response”) [ECF No. 1991]. The law firm Gianni Petoyan filed a Response on behalf
    of the plaintiffs in case numbers 10-CIV-20237, 10-CIV-22151, and 10-CIV-20890 (“Gianni Petoyan
    Response”) [ECF No. 1992]. The law firm Alonso Krangle LLP filed a Response on behalf of the
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                                                I. BACKGROUND

              On April 13, 2012, the Court issued a revised Scheduling Order (“April 13 Scheduling

    Order”) [ECF No. 1784]. Two of the pertinent deadlines in that Order were (1) a June 29, 2012

    deadline for “Plaintiffs to serve Rule 26(a)(2) case-specific expert disclosures in individual

    cases”; and (2) an August 30, 2012 deadline for “Plaintiff’s counsel [to] identify rebuttal generic

    experts and serve Rule 26(a)(2)(D) rebuttal generic expert reports.” (Id. 2–3). The Court

    recently issued another revised Scheduling Order (“October 15 Scheduling Order”) [ECF No.

    2009] extending certain deadlines, including the date by which the parties must conclude expert

    depositions, but not extending any relevant past deadlines. (See October 15 Scheduling Order 1

    n.2 (“All dates and deadlines in the April 13, 2012 Scheduling Order [ECF No. 1784], prior to

    October 30, 2012, remain the same.”)).

              Plaintiffs served Rule 26(a)(2) 2 case-specific expert disclosures regarding individual

    cases in accordance with the June 29, 2012 deadline. (See Plaintiffs’ Rule 26 Disclosures [ECF

    No. 2008-2]). Those disclosures include information regarding treating physicians as well as

    economists, life care planners, and occupational therapists. (See, e.g., Case Specific Expert

    plaintiffs in case numbers 10-CIV-24200, 10-CIV-24199, 09-CIV-21643, 09-CIV-23228, and 09-CIV-
    21646 (“Alonso Krangle Response”) [ECF No. 1994].
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        Rule 26(a)(2) provides, in part:

                                            *        *       *

              (B) Witnesses Who Must Provide a Written Report. Unless otherwise stipulated or
              ordered by the court, this disclosure must be accompanied by a written report—prepared
              and signed by the witness—if the witness is one retained or specially employed to
              provide expert testimony in the case or one whose duties as the party's employee
              regularly involve giving expert testimony. The report must contain . . . .

              (C) Witnesses Who Do Not Provide a Written Report. Unless otherwise stipulated or
              ordered by the court, if the witness is not required to provide a written report, this
              disclosure must state . . . .

                                            *        *       *



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    Disclosure of Sedlacek & Wilkerson, at 2, 4 [ECF No. 1977-6]). Of the many case-specific Rule

    26 disclosures, only one expert report — a damages report — was produced to Defendants

    pursuant to Rule 26(a)(2)(B). (See Rowlen June 19, 2012 Disclosures [ECF No. 1986]). Some

    of the expert disclosures provide the names of the treating physicians of various Plaintiffs with

    references to the general topics on which the doctors will testify. (See Mot. 3). Other expert

    disclosures do not specifically name any treating physician who may testify as an expert; instead,

    they state all of a plaintiff’s treating physicians might testify as experts and direct Defendants to

    such plaintiff’s medical records. (See id.).    Still others “reserve” a right to provide additional

    case-specific disclosures at a later date regarding experts who will opine on issues other than

    causation. (Id.). On August 30, 2012, Plaintiffs designated scores of treating physicians as

    rebuttal experts on general causation. (See id. 12–13). Of the many disclosures made on August

    30, 2012, Plaintiffs identified only one expert by name and provided a single Rule 26(a)(2)(C)

    report, but did not provide any Rule 26(a)(2)(B) reports. (See id. 12–13; id. Ex. O, at 1 [ECF No.

    1975-3]; Chaffin Luhana Resp. 8–9).

           From the time Plaintiffs served their case-specific expert disclosures until Defendants

    filed the instant Motion, the parties exchanged several letters and emails regarding deficiencies

    identified by Defendants with the disclosures. (See, e.g., Mot. Exs. G, H, I, J, K [ECF Nos.

    1978-7, 1978-8, 1978-9, 1978-10, 1978-11]; Reply Exs. E, F [ECF Nos. 2008-5, 2008-6]).

    Despite the many discussions held between Defendants and Plaintiffs regarding the purportedly

    deficient disclosures, only one plaintiff supplemented her case-specific expert disclosures by

    providing a more detailed Rule 26(a)(2)(C) report. (See Langston & Lott Resp. 2). No plaintiff

    provided a Rule 26(a)(2)(B) report as a result of the parties’ discussions on the matter. As the

    tally stands now, Plaintiffs have produced a single Rule 26(a)(2)(B) report — a damages report




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    on behalf of one plaintiff. Defendants now move to strike Plaintiffs’ case-specific and general

    causation rebuttal expert disclosures, contending that such disclosures violate Rule 26 and the

    April 13 Scheduling Order. (See generally Mot.).

                                             II. ANALYSIS

           Defendants seek to strike Plaintiffs’ case-specific expert disclosures as well as Plaintiffs’

    general causation rebuttal designations. (See generally id.). This remedy, “exclusion of critical

    evidence[,] is an ‘extreme’ sanction, not normally to be imposed absent a showing of willful

    deception or ‘flagrant disregard’ of a court order by the proponent of the evidence.” In re

    Terazosin Hydrochloride Antitrust Litig., No. 99-MDL-1317, 2005 WL 5955699, at *9 (S.D. Fla.

    Feb. 2, 2005) (quoting Meyers v. Pennypack Woods Home Ownership Assoc., 559 F.2d 894,

    904–05 (3rd Cir. 1977)). With this standard in mind, the Court turns to the parties’ positions.

           A. The Parties’ Positions

                   1. Defendants

           Defendants contend Plaintiffs failed to comply with the April 13 Scheduling Order and

    Rule 26. Specifically, Defendants assert two sets of Plaintiffs’ disclosures are insufficient: (1)

    Plaintiffs’ case-specific expert disclosures; and (2) Plaintiffs’ identification of rebuttal experts

    regarding general causation. The first set of purportedly insufficient disclosures can be further

    subcategorized as (a) expert disclosures relating to causation; and (b) expert disclosures

    regarding matters other than causation. As to Plaintiffs’ expert disclosures regarding matters

    other than causation, Defendants argue Plaintiffs’ disclosures are insufficient because they

    purport to unilaterally amend the April 13 Scheduling Order by reserving a right to provide

    additional disclosures at a later time. (See Mot. 6–7; Reply 2).




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              Defendants argue Plaintiffs’ case-specific expert disclosures relating to causation as well

    as Plaintiffs’ identification of rebuttal generic experts are inadequate because they fail to meet

    the requirements of Rule 26(a)(2)(B) and (C) as well as the April 13 Scheduling Order. (See

    Mot. 5–12; Reply 2–7).            In particular, Defendants assert in order for Plaintiffs’ treating

    physicians to opine on specific or general causation, they must have submitted an expert report in

    compliance with Rule 26(a)(2)(B) because such opinions were not formed and are not based

    upon observations made during the course of treatment. (See Mot. 7–8). Further, Defendants

    argue written expert reports are required as a matter of law because the experts are purporting to

    testify regarding complex causation issues subject to Daubert.3 (See Mot. 11–13; Reply 4–7).

              Finally, Defendants contend Plaintiffs have not shown that their violations of Rule 26(a)

    are justified or harmless. (See Mot. 13–16; Reply 8). Defendants assert they face severe

    prejudice without written expert reports because they cannot properly prepare to depose such

    experts and will not be able to determine whether any general causation opinions pass muster

    under Daubert. (See Mot. 14–15). Further, Defendants assert Plaintiffs cannot show substantial

    justification for their insufficient disclosures because Plaintiffs have known the deadline to serve

    their expert disclosures for a year and are now attempting to undermine the Court’s intention to

    rule on all Daubert issues regarding general causation in this MDL. (See id. 15).

                      2. Plaintiffs

              Plaintiffs oppose Defendants’ Motion on the basis of two substantive and several

    procedural reasons.       First, Plaintiffs argue they complied with Rule 26 and the April 13

    Scheduling Order. As to their case-specific disclosures regarding causation and identification of

    general causation rebuttal experts, Plaintiffs assert they fully complied with Rule 26 because they


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        Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).



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    disclosed treating physicians who have not been retained. According to Plaintiffs, treating

    physicians who have not been retained need not provide Rule 26(a)(2)(B) reports; instead,

    Plaintiffs must have, and did, provide sufficient Rule 26(a)(2)(C) reports. (See Langston & Lott

    Resp. 4; Parker Waichman Resp. 6–8; Alonso Krangle Resp. 3). As to their case-specific

    disclosures regarding issues other than causation, Plaintiffs assert the issues are not relevant to

    issues the Court has suggested it will address in the MDL, and in accordance with efficiency and

    common sense, Plaintiffs are not required to produce expert reports at this time. (See July 16,

    2012 Chaffin Letter [ECF No. 1978-8]).

           Second, Plaintiffs assert any insufficiencies in their disclosures are substantially justified

    and harmless.    (See Parker Waichman Resp. 9–12).           According to Plaintiffs, the treating

    physicians’ testimony cannot possibly surprise Defendants, as Defendants are well aware of who

    the potential witnesses are and to what they would testify. (See Chaffin Luhana Resp. 9–10;

    Gianni Petoyan Resp. 6). In fact, Defendants have, and have had, access to full sets of medical

    records. (See Alonso Krangle Resp. 3). Defendants have additionally had a substantial amount

    of time in which to depose the treating physicians, but chose instead to cancel such depositions

    and now “cannot close [their] eyes and ears to the evidence available to them and then claim

    unfair surprise.” (Parker Waichman Resp. 5). Plaintiffs further insist Defendants will not be

    prejudiced by any insufficient disclosures because Defendants still have ample time to depose

    the treating physicians. (See id. 11). Plaintiffs insist the disclosures were timely, they identified

    treating physicians who were already well-known to Defendants, and the disclosures were aimed

    at putting Defendants on notice regarding who Plaintiffs might call to testify and about what.

    (See id.). To the extent the Court finds Plaintiffs’ disclosures insufficient, Plaintiffs request an

    opportunity to supplement their disclosures. (See id. 6).




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           Plaintiffs additionally raise several procedural arguments. For example, Plaintiffs assert

    Defendants’ Motion is inappropriate for an omnibus ruling. (See Chaffin Luhana Resp. 5).

    Plaintiffs also assert the specific-causation issues presented in Defendants’ Motion should be

    addressed on a case-by-case and expert-by-expert basis in the remand courts. (See Parker

    Waichman Resp. 6; Chaffin Luhana Resp. 5, 10). Certain Plaintiffs also assert Defendants’

    Motion should be denied because Defendants failed to confer in accordance with Local Rule

    7.1(a)(3). (See Chaffin Luhana Resp. 2–4).

           B. Rule 26(a)(2)(B) Written Reports Are Required

           Federal Rule of Civil Procedure 26(a) sets forth requirements for disclosing expert

    testimony. See FED. R. CIV. P. 26(a)(2). Parties must identify any witnesses they “may use at

    trial to present evidence under Federal Rule of Evidence 702, 703, or 705.” Id. 26(a)(2)(A).

    Rule 26 differentiates between disclosures of witnesses who provide a written report, and those

    who do not. Compare id. 26(a)(2)(B) with id. 26(a)(2)(C). A full written and signed report is

    required from an expert who is “retained or specially employed to provide expert testimony in

    the case or one whose duties as the party’s employee regularly involve giving expert testimony.”

    Id. 26(a)(2)(B). In contrast, when an expert is not required to provide a written report under

    subsection (B), the attendant disclosure is “considerably less extensive.”          FED. R. CIV. P.

    Advisory Committee’s Notes (2010 Amendments).

           Although Defendants, as the moving parties, bear the initial burden of showing a valid

    basis for striking Plaintiffs’ disclosures, Plaintiffs, as the parties seeking to avoid producing full

    written expert reports, bear the burden of demonstrating that Rule 26(a)(2)(B) reports are not

    required.   See Cinergy Commc’ns v. SBC Commc’ns, No. 05-2401-KHV-DJW, 2006 WL

    3192544, at *3 (D. Kan. Nov. 2, 2006); Meredith v. Int’l Marine Underwriters, No. GLR-10-




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    837, 2012 WL 3025139, at *5 (D. Md. July 20, 2012).                In determining whether a Rule

    26(a)(2)(B) report is required, the label of “treating physician” is irrelevant; instead, the

    determination turns on the substance of the physician’s testimony. Singletary v. Stops, Inc., No.

    6:09-cv-1763-Orl-19KRS, 2010 WL 3517039, at *6 (M.D. Fla. Sept. 7, 2010).

           When a treating physician testifies regarding opinions “formed and based upon

    observations made during the course of treatment,” the treating physician need not produce a

    Rule 26(a)(2)(B) report. Jensen v. Carnival Corp., No. 10-24383, 2011 U.S. Dist. LEXIS

    108727, at *3 (S.D. Fla. Sept. 25, 2011) (citations omitted). By contrast, treating physicians

    offering opinions beyond those arising from treatment are experts from whom full Rule

    26(a)(2)(B) reports are required. See Goodman v. Staples The Office Superstore, LLC, 644 F.3d

    817, 826 (9th Cir. 2011) (requiring a written report from treating physicians who give expert

    testimony beyond the scope of the treatment rendered and review information provided by

    attorneys in rendering their opinions); Meyers v. National R.R. Passenger Corp. (Amtrak), 619

    F.3d 729, 734–35 (7th Cir. 2010); see also Meredith, 2012 WL 3025139, at *5 (“A witness must

    submit a report regarding any opinions formed specifically in anticipation of litigation, or

    otherwise outside the normal course of a duty.” (citations omitted)). A treating physician may

    be subject to Rule 26(a)(2)(C) as to portions of his or her testimony and may be deemed a

    retained or specially employed expert who is subject to Rule 26(a)(2)(B) as to other portions.

    See Sullivan v. Glock, Inc., 175 F.R.D. 497, 500 (D. Md. 1997).

           Rule 26(a)(2)(B) requires full written reports for Plaintiffs’ experts and such reports have

    not been provided for the case-specific experts opining on causation or the general causation

    rebuttal experts. Defendants have met their initial burden of showing a valid basis for striking

    Plaintiffs’ case-specific expert disclosures as well as Plaintiffs’ identification of rebuttal experts




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    regarding general causation. See Cinergy Commc’ns, 2006 WL 3192544, at *3. As to the

    treating physicians disclosed as experts here, Plaintiffs simply assert their designated experts are

    un-retained treating physicians and summarily conclude that full written reports are not required.

    Yet, as stated, the title “treating physician” does not carry the day for Plaintiffs; instead,

    Plaintiffs must show the substance of such designated experts’ testimony does not require a full

    written report. See Stops, Inc., 2010 WL 3517039, at *6. Inasmuch as Plaintiffs’ treating

    physicians are opining on causation — either specific or general — Defendants are entitled to

    full Rule 26(a)(2)(B) reports because such opinions go beyond those arising from treatment. See

    Goodman, 644 F.3d at 826.          Plaintiffs’ case-specific and general causation rebuttal expert

    disclosures are indeed insufficient.4

            As to the case-specific experts opining on issues other than causation, all parties appear

    to agree Plaintiffs’ experts must produce Rule 26(a)(2)(B) reports. The only issue is whether

    they must have been produced in accordance with the July 29, 2012 deadline for “Plaintiffs to

    serve Rule 26(a)(2) case-specific expert disclosures in individual cases.” (April 13 Scheduling

    Order). The April 13 Scheduling Order did not make an exception for experts addressing issues

    other than causation. Consequently, Plaintiffs were required to produce Rule 26(a)(2)(B) reports

    to Defendants.

            C. Striking Plaintiffs’ Expert Disclosures is Unwarranted

            Complying with Rule 26 is “‘not merely an aspiration’ as ‘the expert witness discovery

    rules are designed to allow both sides in a case to prepare their cases adequately and to prevent

    surprise.’” Bray & Gillespie Mgmt. LLC v. Lexington Ins. Co., No. 6:07-cv-222-Orl-35KRS,


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      Because Plaintiffs did not produce a single Rule 26(a)(2)(B) report in connection with their case-
    specific expert disclosures regarding causation or their general causation rebuttal expert disclosures, the
    Court resolves the Motion on an omnibus basis.



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    2009 WL 1043974, at *3 (M.D. Fla. Apr. 17, 2009) (quoting Reese v. Herbert, 527 F.3d 1253,

    1266 (11th Cir. 2008)). Where a party fails to provide information as required under Rule 26(a),

    Rule 37 authorizes the Court to sanction that party. See FED. R. CIV. P. 37(c). Under Rule 37, if

    a party fails to comply with Rule 26, “the party is not allowed to use that information or witness

    to supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

    justified or is harmless.” FED. R. CIV. P. 37(c)(1).

           The party who fails to comply with Rule 26 bears the burden of showing its actions were

    either substantially justified or harmless. See Weaver v. Lexington Ins. Co., No. 8:05-cv-1913-T-

    27TBM, 2007 WL 1288759, at *2 (M.D. Fla. May 2, 2007). “Substantial justification requires

    justification to a degree that could satisfy a reasonable person that parties could differ as to

    whether the party was required to comply with the disclosure request. The proponent’s position

    must have a reasonable basis in law and fact.” Harrison v. Burlage, No. 08-80989-CIV, 2009

    WL 3048687, at *3 (S.D. Fla. Sept. 18, 2009) (quoting Chapple v. Alabama, 174 F.R.D. 698,

    701 (M.D. Ala. 1997)). Failing to comply with Rule 26 is “harmless” when “there is no

    prejudice to the opposing party.” In re Terazosin, 2005 WL 5955699, at *8 (citing Ellison v.

    Windt, No. 6:99-CV-1268-ORLKRS, 2001 WL 118617, at *2 (M.D. Fla. Jan. 24, 2001)).

           While Plaintiffs fail to show their non-compliance with Rule 26 was justified, the Court

    is persuaded that the non-compliance is harmless. Admittedly, to date Plaintiffs have produced

    only a single Rule 26(a)(2)(B) report regarding an issue other than causation. However, there is

    currently no deadline by which experts testifying to issues other than causation must be deposed,

    and Defendants will be afforded an opportunity to depose such expert witnesses after receiving

    the reports. Accordingly, Defendants will not be prejudiced or surprised in any way by receiving

    reports after the Court rules on causation issues.




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           As to experts opining on causation, nearly two months remain to complete specific

    causation expert depositions, and the deadline for Daubert motions regarding general causation

    is over five months away.       (See October 15 Scheduling Order).         Additionally, Plaintiffs

    represent, “any deficiencies in the Rule 26 disclosures this Court identifies can easily be

    remedied in a short timeframe.” (Chaffin Luhana Resp. 10). If Plaintiffs cure the deficiencies in

    their disclosures within a “short timeframe,” Defendants will have sufficient time to review

    Plaintiffs’ expert reports and depose or re-depose Plaintiffs’ treating physicians as necessary in

    the time remaining in the October 15 Scheduling Order. Circumstances have already mitigated

    much of the possible prejudice resulting from expending resources to re-depose treating

    physicians because, despite having sought and obtained additional time to depose the treating

    physicians, Defendants cancelled a majority of the depositions. Because Defendants will neither

    be surprised nor be prejudiced, Plaintiffs’ late disclosure of Rule 26(a)(2)(B) expert reports

    should not be remedied by the most extreme of sanctions. See Ellison, 2001 WL 118617, at *3

    (holding the belated disclosure of an expert report was harmless because the plaintiff was given

    an opportunity to depose the expert before trial); Cinergy Commc’ns, 2006 WL 3192544, at *3

    (requiring the party who did not bear its burden to show a Rule 26(a)(b)(B) report was not

    required to serve revised expert designations along with fully written reports).

           Defendants argue they need Rule 26(a)(2)(B) expert reports for any expert opining on

    causation in order to properly present Daubert motions. The Court agrees. Plaintiffs’ insistence

    that specific-causation issues can and should be addressed by the remand courts fails to persuade

    considering Plaintiffs have, on numerous occasions, represented that Plaintiffs’ treating

    physicians will be instrumental to their proof of general causation (see, e.g., Tr. of Status

    Conference on Sept. 6, 2012, at 13:9–14:6 [ECF No. 1965]), and Plaintiffs have identified such




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    treating physicians as rebuttal causation experts (see Gianni Petoyan Resp. 5). Although no

    timetable for specific-causation Daubert briefing currently exists, Plaintiffs have attempted to

    shoehorn such issues into the Court’s consideration of general causation. As the Court has

    reiterated, expert testimony regarding causation must be vetted for reliability. (See July 31 Order

    [ECF No. 1918]). In order to properly present arguments regarding general causation issues in

    the upcoming Daubert briefing, Defendants must receive Rule 26(a)(2)(B) reports for any

    experts Plaintiffs intend to rely upon for general causation. Defendants are also entitled to

    receive Rule 26(a)(2)(B) reports for treating physicians opining on specific causation.

                                            III. CONCLUSION

            For the reasons set forth above, it is

            ORDERD AND ADJUDGED that the Motion [ECF No. 1977] is GRANTED in part

    and DENIED in part. The parties shall propose reasonable deadlines for Plaintiffs to provide

    Rule 26(a)(2)(B) reports in accordance with this Order.

            DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of October,

    2012.

                                                              _________________________________
                                                              CECILIA M. ALTONAGA
                                                              UNITED STATES DISTRICT JUDGE

    cc: counsel of record




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